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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA

                                            *
  John Doe #4, et al.                       *
                                            *     Case No.:
                Plaintiffs,                 *     14-cv-23933-Huck/McAliley
                                            *
  v.                                        *
                                            *
                                            *
  Miami-Dade County, Florida                *
                                            *
                Defendant.                  *
                                            *
  ______________________________________________________________________________


                               Plaintiffs’ Notice of Filing Trial Exhibits

          Pursuant to Local Rule 5.3(b)(2), Plaintiffs file the following exhibits that were admitted

  into evidence at trial:

      1. Final Amended Report – Kelly M. Socia

      2. Expert Rebuttal – Kelly M. Socia

      3. Expert Rebuttal – Andrew J.R. Harris rebuttal to Richard McCleary

      4. Expert Report – Jill S. Levenson

      5. Expert Rebuttal – Jill S. Levenson rebuttal to Richard McCleary

      6. Expert Report – Pedro Greer

      7. Expert Report – Andrew J.R. Harris

      8. Declaration of Robert Berman (previously filed at ECF 136-8)

      9. Declaration of Rosa Noriega (previously filed at ECF 136-9)

      10. [omitted]
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     11. [omitted]

     12. [omitted]

     13. [omitted]

     14. Liptak, Adam, “Did the Supreme Court Base a Ruling on a Myth,” New York Times,

        March 6, 2017

     15. Ellman, Ira Mark and Ellman, Tara, “Frightening and High”: The Supreme Court’s

        Crucial Mistake About Sex Crime Statistics (September 16, 2015), published at 30

        Constitutional Commentary 495 (2015) (previously filed at ECF 136-15)

     16. Three (3) photographs of the area where John Doe #7 resides

     17. Selected emails between Luis Poveda and Victoria Mallette (previously filed at ECF 136-

        17)

     18. Transcript of 11/15/2005 County Commission Hearing

     19. [omitted]

     20. [omitted]

     21. Miami-Dade County’s Response to Plaintiffs’ First Set of Interrogatories

     22. Emails between Robert Berman and Victoria Mallette dated January 2, 2018

     23. Email chain between Robert Berman and Victoria Mallette dated September 21, 2017

        through September 1, 2017

     24. Email chain from Victoria Mallette to Citrus Staff dated October 24, 2017 and October

        10, 2017

     25. Five (5) photographs of the area where John Doe #4 resides

     26. Four (4) photographs of the area where John Doe #5 resides

     27. Three (3) photographs of the area where John Doe #6 resides
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      28. Skipp, Catharine, “A Law for the Sex Offenders Under a Miami Bridge,” Time, February

         1, 2010.

      29. Skipp, Catharine, “The Lobbyist Who Put Sex Offenders Under a Bridge,” Newsweek,

         July 24, 2009.

      30. Florida Department of Health Memo from Samir Elmir dated January 19, 2018

      31. Jeffery T. Walker, Eliminate Residency Restrictions for Sex Offenders, 6 Criminology &

         Public Policy 4 (2007)

      32. Miami-Dade County Transit System Map, August 2018

      33. FDLE Map – 3600 NW 37th Avenue, Miami

      34. FDLE Map – 7821 Carlyle Avenue, Miami Beach

      35. Ron Book – Financial Report1



  Respectfully submitted,

  /s/ Daniel B. Tilley
  Daniel B. Tilley                                Brandon J. Buskey* (ASB2753A50B)
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  1
    At the conclusion of trial, the Court ultimately accepted Plaintiff’s proffer concerning this
  exhibit. Additionally, the County had previously stipulated to its admission in the pretrial
  stipulation.
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  Certificate of Service: I hereby certify that this document was served on all counsel of record
  via transmission of Notices of Electronic Filing generated by CM/ECF or some other authorized
  manner for those counsel not receiving Notices of Electronic Filing.

  /s/ Daniel B. Tilley
  Daniel B. Tilley
